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                     IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF OKLAHOMA


 UNITED STATES OF AMERICA,                     )
                                               )
                        Plaintiff,             )
                                               )      Case No. 99-CR-012-TCK
 v.                                            )
                                               )
 WILLIE COBB,                                  )
                                               )
                        Defendant.             )



                                     OPINION AND ORDER

        Before the Court is Defendant’s “Application for an Order Reducing or Modifying Sentence

 Pursuant to Rule 35(b) Federal Rule Criminal Procedure” (Doc. 176).

 I.     Background

        In December 1998 and January 1999, Defendant Willie Cobb and two co-defendants, Estac

 Love and Stacey Malone, committed a series of armed robberies, carjackings, and attempted armed

 robberies. Among other crimes, on December 21, 1998, Cobb, Love and Malone carjacked an

 employee of a U.S. Express check cashing business, bound and duct-taped her parents and

 seven-year-old son, and forced her to unlock the U.S. Express location so they could steal thousands

 of dollars. On January 5, 1999, the three attempted to rob a Grandy’s restaurant by brandishing a

 firearm. On January 28, 1999, they attempted to carjack a truck from an employee of a different U.S.

 Express location, and attempted to commit an armed robbery of that location.

        After all three defendants were named in a fourteen-count indictment, Cobb entered a plea

 agreement with the government, under which he pleaded guilty to one count of Hobbs Act Robbery

 and one § 924(c) count. The parties agreed, under Fed. R. Crim. P. 11(e)(1)(C), that the appropriate
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 sentence for Cobb should be 22 years (264 months). As part of the plea agreement, Cobb waived

 his appellate and post-conviction rights and agreed to testify against his co-defendants. The plea

 agreement did not include a provision for a downward departure under U.S.S.G. § 5K1.1 for Cobb’s

 cooperation; rather, Cobb’s cooperation was factored into the 22-year sentence recommended under

 11(e)(1)(C).   At the scheduled sentencing hearing, this Court rejected the 11(e)(1)(C)

 recommendation, stating that the agreed-upon sentence was too low, and gave Cobb time to decide

 whether to withdraw his plea of guilty or enter into another plea agreement with the government.

 The parties reached a new 11(e)(1)(C) plea agreement with an agreed-upon sentence of 25 years.

 At Cobb’s second sentencing hearing, the Court permitted him to withdraw his prior guilty plea and

 accepted his new plea agreement. On July 22, 1999, the Court sentenced Cobb to a total of 300

 months imprisonment, comprised of consecutive sentences of 63 months as to Count Four and 237

 months as to Count Five. In contrast, Stacey Malone and Estac Love, who did not plead guilty or

 cooperate with the government, received sentences of 781 months and 1752 months, respectively.

 II.    Motion to Reduce Sentence

        Rule 35(b) provides:

        (b) Reducing a Sentence for Substantial Assistance.
        (1) In General. Upon the government’s motion made within one year of sentencing,
        the court may reduce a sentence if the defendant, after sentencing, provided
        substantial assistance in investigating or prosecuting another person.
        (2) Later Motion. Upon the government’s motion made more than one year after
        sentencing, the court may reduce a sentence if the defendant’s substantial assistance
        involved:
        (A) information not known to the defendant until one year or more after sentencing;
        (B) information provided by the defendant to the government within one year of
        sentencing, but which did not become useful to the government until more than one
        year after sentencing; or
        (C) information the usefulness of which could not reasonably have been anticipated
        by the defendant until more than one year after sentencing and which was promptly


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        provided to the government after its usefulness was reasonably apparent to the
        defendant.

 Cobb requests that the Court reduce his sentence pursuant to Rule 35(b) based on substantial

 assistance provided in conjunction with a jailhouse murder occurring in 2004:

        [I] gave some significant information that helped the Government in the investigation
        of a murder then happened at F.C.I. El Reno in 2004. . . .Defendant gave pertinent
        information to (SA) Doug Samuel who were investigating the murder. (SA) Doug
        Samuel told [me] that he would see that [I] will be rewarded with [my] freedom if
        [I] assist the Government with their investigation.

 (Mot. to Reduce Sentence at 6-7.)1

        Defendant’s motion fails for at least two reasons. First, Rule 35(b) motions must be filed

 by the government and may not be filed by a defendant. See Wade v. United States, 504 U.S. 181,

 185 (1992) (discussing the “Government-motion requirement” for motions for reduction of sentence

 based on substantial assistance); United States v. Duncan, 242 F.3d 940, 944 (10th Cir. 2001) (“As

 a general rule, a district court’s authority to consider a defendant’s substantial assistance claim at

 sentencing is conditioned upon a prior motion of the government.”); 3 Wright and Welling, Federal

 Practice and Procedure § 614 (4th ed. 2011) (“A defendant may not move to reduce his sentence

 under Rule 35(b), nor may a court reduce a sentence under Rule 35(b) on its own; a government

 motion is required.”). The Court is without authority to grant a Rule 35(b) motion in the absence

 of a government motion.




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          In his reply, Defendant abandoned any claim premised upon his assistance in
 prosecuting his co-defendants and limited his claim to the above-described assistance, which was
 provided in 2004. (See Reply in Support of Mot. to Reduce Sentence at 2 (“Defendant will
 concede to his request for a sentence reduction based upon his past cooperation in ground one.
 However, defendant still believes that he deserve[s] a sentence reduction based upon his
 information that he provided about a murder at FCI-El Reno in 2004.”).)

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        Second, construing Defendant’s Rule 35(b) as a challenge to the United States’ refusal to file

 a motion for sentence reduction, such challenge also fails. “[A] district court’s authority to review

 the government’s refusal to file a substantial assistance motion is limited to determining whether the

 decision was: (1) animated by an unconstitutional motive, or (2) not rationally related to a legitimate

 government end.” Duncan, 242 F.3d at 947. Defendant has failed to allege any unconstitutional

 motive, and the United States has shown that its failure to file a Rule 35 motion was rationally

 related to a legitimate government end. The United States submitted the affidavit of Special Agent

 Douglas Samuels. Special Agent Samuels stated:

        In late 2004, I investigated a homicide at FCI-El Reno. In the course of that
        investigation, I met Willie Cobb, a prisoner who came forward with information
        about the homicide. Although Mr. Cobb provided truthful information about the
        individuals involved in the homicide, that information did not lead to the prosecution
        or conviction of any of those individuals. As a result of having provided information
        to the government, Mr. Cobb received threats that led him to be transferred from
        FCI-El Reno to another BOP facility.

        I have reviewed Mr. Cobb’s Rule 35(b) motion. Contrary to Mr. Cobb’s allegation,
        I never told him that I would see that he would “be rewarded with his freedom” for
        assisting the government in its investigation. Nor did I tell Mr. Cobb’s mother that
        I “would get her son out of prison because of his assistance,” or tell Mr. Cobb that
        I would “have the Government to file a Rule 35(b) motion upon his behalf.” Rather,
        I told Mr. Cobb I would provide prosecutors of his assistance.

        In short, Mr. Cobb did provide assistance in the investigation, and I passed
        information about his assistance along to the United States Attorney’s Office for the
        Western District of Oklahoma. However, the United States Attorney’s Office
        determined that Mr. Cobb’s assistance was not sufficient to warrant a Rule 35
        motion.

 (Resp. to Mot. to Reduce Sentence, Ex. A.) Based on this evidence, the Court finds that the United

 States’ failure to move for reduction of sentence was “based not on a failure to acknowledge or

 appreciate the defendant’s help, but simply on its rational assessment of the cost and benefit that

 would flow from moving.” Duncan, 242 F.3d at 949.

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 III.   Conclusion

        Defendant’s “Application for an Order Reducing or Modifying Sentence Pursuant to Rule

 35(b) Federal Rule Criminal Procedure” (Doc. 176) is DENIED, and Defendant’s motion for

 appointment of counsel (Doc. 177) is DENIED as moot.

        SO ORDERED this 19th day of August, 2013.




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